           Case 1:19-cv-06957-AJN Document 84 Filed 03/30/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
Hertz Global Holdings, Inc.,

                                   Plaintiff,
                 -against-                                                   19 CIVIL 6957 (AJN)

                                                                               JUDGMENT
National Union Fire Insurance Company of Pittsburgh,
Et al.,

                                    Defendants.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Memorandum Opinion and Order dated March 30, 2021, Defendants' motion

to dismiss is GRANTED. Plaintiff's Second Amended Complaint is dismissed with prejudice;

accordingly, this case is closed.

Dated: New York, New York

          March 30, 2021


                                                                          RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                             Deputy Clerk
